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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

VIRGINIA HERRMANN,                              )
individually and on behalf of all others        )
similarly situated,                             )
                                                )
       Plaintiff,                               )   Case No. 4:20-cv-00706
                                                )
v.                                              )   JURY TRIAL DEMANDED
                                                )
SAM’S EAST, INC. d/b/a SAM’S CLUB               )
#6474,                                          )
                                                )
       Defendant.

                  DEFENDANT’S SUPPLEMENTAL BRIEF
          IN SUPPORT OF ITS MOTION TO COMPEL ARBITRATION
     OR, IN THE ALTERNATIVE, TO DISMISS PLAINTIFF’S COMPLAINT

       On June 5, 2020, Defendant Sam’s East, Inc. (“Sam’s Club”) filed a Motion to

Compel Arbitration or, in the Alternative, to Dismiss Plaintiff’s Complaint for Failure to

State a Claim. ECF # 5.        In the memorandum supporting its motion, Sam’s Club

explained that Plaintiff is bound by the class action waiver and mandatory arbitration

provision in the Terms & Conditions of her Sam’s Club Membership Agreement because

she continued her membership beyond February 1, 2020, the effective date of the updated

Terms & Conditions. ECF # 6 at 5. In her opposition brief, Plaintiff disputed that fact,

arguing that “Defendant’s unsupported assertion notwithstanding, Herrmann indisputably

did not continue her membership beyond February 1, 2020.” ECF # 11 at 3 (citing Doc.

6 at 5; Herrmann Decl. ¶ 2).




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       A document recently provided to counsel conclusively demonstrates that Plaintiff

did continue her membership past February 1, 2020. See Ex. 1-A to Supplemental

Declaration of Jeffrey Wadlin (“Supp. Wadlin Decl.”) (letter from Sam’s Club to Plaintiff

advising that her membership would expire on February 18, 2020); see also Suppl.

Wadlin Decl. ¶ 4 (attached as Ex. 1). Plaintiff’s Sam’s Club membership did not expire

until February 18, 2020. See id. Plaintiff was aware of the February 18, 2020 expiration

date because Sam’s Club advised Plaintiff on or around the end of 2019 that her

membership would not expire until February 18, 2020. See Suppl. Wadlin Decl. ¶ 3; Ex.

1-A. Indeed, on February 6, 2020, Plaintiff emailed Sam’s Club stating that she wished

to cancel her membership and obtain a refund (ECF # 11-3), but later that same day

retracted the earlier email and stated that she wished to cancel her membership but not

receive a refund (ECF # 11-4). These emails and Exhibit 1-A conclusively establish that

Plaintiff’s membership did extend beyond February 1, 2020, and that Plaintiff was fully

aware that it did.

       Because Plaintiff indisputably continued her membership beyond the February 1,

2020 effective date of the updated Terms & Conditions, she is bound by the class waiver

and mandatory arbitration provision contained therein. The case should be referred to

arbitration.

Dated: August 7, 2020                    Respectfully submitted,

                                         BRYAN CAVE LEIGHTON PAISNER LLP

                                            By: /s/ A. Elizabeth Blackwell
                                                A. Elizabeth Blackwell, #50270MO
                                                Darci F. Madden, #51463MO

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                             CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 7th day of August, 2020, the foregoing

was filed electronically via the ECF/CM system with the Clerk of Court which will serve

Notice of Electronic Filing upon all counsel of record via electronic mail.




                                                 /s/ A. Elizabeth Blackwell




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